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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

  HARRY KEVIN WADE,                                              )
                                                                 )
              Plaintiff,                                         )
                                                                 )
              v.                                                 )
                                                                 ) CASE NO. 1:18-cv-2475-TWP-DLP
                                                                 )
  INDIANA DEPARTMENT OF CHILD                                    )
  SERVICES, et al.,                                              )
                                                                 )
              Defendants.                                        )

              DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S
                      MOTION FOR SUMMARY JUDGMENT

        I.         Introduction

        Plaintiff Harry Wade filed his Motion for Summary Judgment arguing that the

  Defendants retaliated against him in violation of the First Amendment for his

  speech regarding transgender individuals during a DCS case meeting with

  Defendant Kelly McSween. [ECF 119.]1 Plaintiff isn’t entitled to summary judgment

  because the facts he relies on to support resolution of his claims as a matter of law

  are not based on his personal knowledge or otherwise admissible evidence.

  Additionally, Plaintiff misstates and misapplies the legal standards relevant to the

  First Amendment rights of government contractors acting in the course of their

  official duties. Because of those failures, Plaintiff’s motion for summary judgment

  should be denied.

        II.        Statement of material facts in dispute or which are not supported
                   by admissible evidence

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      Defendants also filed their Motion for Summary Judgment on the same day as Plaintiff.
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     As an initial matter, Rule 56 of the Federal Rules of Civil Procedure requires

  that affidavits or declarations used to support a motion for summary judgment “be

  made on personal knowledge, set out facts that would be admissible in evidence,

  and show that the affiant or declarant is competent to testify on the matters

  stated.” Fed. R. Civ. P. 56(c)(4). While “personal knowledge” may include inferences

  and opinions, those inferences must be substantiated by specific facts or be

  grounded in observations or other first-hand experience. Drake v. Minnesota Min. &

  Mfg. Co., 134 F.3d 878, 887 (7th Cir. 1998); United States v. Joy, 192 F.3d 761, 767

  (7th Cir.1999). Conclusory allegations should be disregarded on summary judgment.

  Id. As detailed below, numerous assertions of “fact” in Plaintiff’s MSJ are only

  supported by conclusory allegations from Plaintiff’s affidavit, [Plaintiff’s MSJ, Ex.

  A], and therefore should not be considered by this Court.

            a. Violation of Policies

     Plaintiff asserts that he did not violate any DCS policies regarding providing

  counseling services to DCS clients or to the transgender client that was referred to

  him by Lifeline, his employer, in January of 2018. [ECF 120, Plaintiff’s

  Memorandum of Law in Support of His Motion for Summary Judgment (“Plaintiff’s

  MSJ”), p. 3.] He cites only his affidavit in support of this conclusion [Plaintiff’s MSJ,

  Ex. A., ¶¶ 15-18.] Plaintiff does not support this conclusion with copies of DCS

  policies, he does not say what specific policies he is referring to, and he does not

  show that he is competent to testify on DCS policies as a general matter—all things

  that would allow this Court to evaluate whether Plaintiff’s actions did or did not



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  violate DCS policy. Instead, Plaintiff simply provides a naked conclusion—he did

  not violate DCS policies—and asks this Court to take his word for it. This Court

  should decline that invitation. See Drake, supra; Palmer v. Marion County, 327 F.3d

  588, 596 (7th Cir. 2003) (“self-serving affidavits, without any factual support in the

  record, are insufficient to defeat a motion for summary judgment.”)

     Additionally, this fact is disputed by the evidence cited in Defendants’ Motion for

  Summary Judgment, [ECF 122], and Memorandum in Support (“Defendants’

  MSJ”). [ECF 123.] Specifically, the evidence shows that when DCS refers a case to

  a contractor (such as Lifeline), who then assigns it to one of their employees (like

  Plaintiff), the contract specifies that services provided to DCS clients will be

  provided according to several specified policies and documents. [ECF 123, p. 3; Ex.

  A, ¶¶ 10, 14, 16; Ex. E, p. 1-2, ¶B; Ex. F, p. 3, ¶22.] The DCS policies cited in the

  contract specify that when providing services to LGBTQ youth, “it is the expectation

  that providers and staff treat all individuals and families respectfully and non-

  judgmentally, irrespective of one’s personal views of sexual orientation and/or

  gender identity.” [Defendants’ MSJ, p. 4; Ex. A, ¶16. (emphasis added)] Plaintiff told

  McSween that he did not agree with the transgender lifestyle and he thought it

  would be difficult to provide counseling services to K.L. and his family without

  expressing his personal views to them about transgenderism. [Defendants’ MSJ, Ex.

  B, ¶13.] In DCS’s view, this violated its policies for dealing with LGBTQ youth.

  [Defendants’ MSJ, Ex. A, ¶ 41.] Given this evidence, Plaintiff’s conclusion that he




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  violated no DCS policy isn’t supported by admissible evidence and is directly

  contradicted by evidence provided by Defendants.

            b. Defendants affirmative steps to have Plaintiff’s employment
               with Lifeline terminated

     Plaintiff next asserts that after he discussed his religious beliefs with McSween,

  she took affirmative action with the agreement and cooperation of the other named

  Defendants to ensure Plaintiff’s termination of employment with Lifeline.

  [Plaintiff’s MSJ, p. 3.] Additionally, he claims that Defendants knew or should have

  known that the vast majority of Lifeline’s client referrals came from DCS and that

  Defendants “knew or should have known that Lifeline would take whatever steps

  were necessary to ensure DCS’s pleasure with Lifeline’s services, including

  terminating Wade.” [Id.] Plaintiff provides three sources of evidence to support

  these purported facts. First, he cites to his own declaration. [Plaintiff’s MSJ, Ex. A,

  ¶¶ 20-23.] Second, Plaintiff cites an email chain between DCS employees and

  Lifeline employees. [Plaintiff’s MSJ, Ex. D.] Third, Plaintiff cites DCS’s

  interrogatory responses to Plaintiff. [Plaintiff’s MSJ, Ex. E.]

        None of these sources of evidence provide support for Plaintiff’s conclusions.

  In Plaintiff’s Exhibit D, the email chains do not even support the inference that any

  Defendant—let alone all of them—took affirmative action to have Plaintiff’s

  employment with Lifeline terminated. In an email between Defendant Killen and

  Jeremiah Brown of Lifeline, after reviewing what had occurred, Killen asks Brown:

  “How is Lifeline going to ensure that Mr. Wade is able to [refrain from expressing

  his personal views] while working with DCS families and children?” [Plaintiff’s



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  MSJ, Ex. D, p. 4-5.] This statement implies a continuing working relationship with

  both Lifeline and Plaintiff, not an anticipation that Plaintiff will be terminated.

  Killen then asks for Plaintiff’s training records for DCS’s review, as well as

  Lifeline’s training materials related to cultural competency. [Id.] Brown later

  responds with Lifeline’s training materials Killen requested, Plaintiff’s training

  records, and then Brown indicates that “disciplinary action has been taken with Mr.

  Wade and he is no longer with Lifeline Youth and Family Services.” [Id. at 6-7.]

  Killen then forwards Brown’s email indicating Plaintiff’s employment was

  terminated to other staff inside of DCS. [Id. at 6.] Nowhere in these emails is there

  any evidence that Defendants requested or suggested that they would like Lifeline

  to terminate Plaintiff’s employment, nor are there any statements from which a

  rational inference could be drawn to suggest the Defendants wanted such action to

  be taken.

        In Plaintiff’s Exhibit E, none of the interrogatory responses support the

  inference that any Defendant took affirmative action to have Plaintiff’s employment

  with Lifeline terminated. The most that can be said for the interrogatories is that

  Defendants Killen, Sparks, and Reed decided to ask Lifeline to no longer assign

  Wade to DCS cases, [Plaintiff’s MSJ, Ex. E, p. 5], but there is nothing in those

  responses about Plaintiff’s employment relationship with Lifeline.

        With Plaintiff’s Exhibits D and E providing no evidentiary support for the

  conclusion that Defendants took affirmative action to have Plaintiff’s employment




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  with Lifeline terminated, the only remaining evidentiary citation in Plaintiff’s MSJ

  is to his own affidavit. It states:




  [Plaintiff’s MSJ, Ex. A.] These statements are Plaintiff’s opinions or generalized

  conclusions that lack evidentiary support, and he does not show why he would be

  competent to testify on what action each Defendant took or what each Defendant

  knew or should have known at the time. Fed. R. Civ. P. 56(c)(4). Plaintiff does not

  provide evidence of what affirmative action McSween took to have his employment

  terminated, does not provide any evidence that McSween conspired with other

  Defendants to have Plaintiff’s employment terminated, does not provide any

  evidence that any of the individual Defendants knew or should have known that

  Lifeline received almost all of their referrals from DCS2 (or provide any evidence

  that Lifeline does, in fact, receive a majority of their referrals from DCS), and does

  not provide any evidence that Defendants knew or should have known that Lifeline


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   In fact, Plaintiff indicates in his declaration that provides counseling services outside of those to DCS. [Plaintiff’s
  MSJ, Ex. A, ¶ 7.]


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  would do whatever is necessary to ensure DCS remained happy with Lifeline.

  Absent factual support or any showing that Plaintiff is competent to opine on these

  matters, the statements in paragraphs 20-23 of Plaintiff’s affidavit should not be

  considered by this Court.

             Additionally, Plaintiff’s purported facts are contradicted by the sworn

  declarations of the Defendants, who actually have knowledge of their own actions.

  McSween did not have any involvement in any decisions regarding Plaintiff3 and

  didn’t even know about DCS’s decision to prevent Plaintiff from having DCS cases

  until after it was made and Plaintiff’s employment had been terminated by Lifeline.

  [Defendants’ MSJ, Ex. B, ¶¶ 15-16.] Defendant Decker did not have any substantive

  involvement in the decision to prohibit Mr. Wade from providing services to DCS

  clients, was not consulted regarding this decision, and did not become aware that

  the decision had been made until after Plaintiff’s employment had been terminated

  by Lifeline. [Defendants’ MSJ, Ex. C, ¶¶ 19-22.] Defendant May was legal counsel

  for DCS at the time of the allegations in the complaint and as such, his substantive

  involvement in any decision is unknown to Plaintiff. [Defendants’ MSJ, Ex. D, ¶¶ 3-

  4.] Defendant Stigdon is the Director of DCS and she took no part in the decision to

  prohibit Plaintiff from providing services to DCS clients or sending the prohibition

  letter to Lifeline. [Defendants’’ MSJ, Ex. I, ¶5.] And while Defendants Killen,

  Sparks, and Reed did decide to prohibit Plaintiff from providing services to DCS

  clients in the future, they did not request or require Lifeline to take any



  3
      Other than to have Mr. Wade not staff the single case involving the transgender child.


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  employment action against Plaintiff other than his removal from DCS cases under

  the contract. [Defendants’ MSJ, Ex. A, ¶¶ 46-47.]

     III.   Argument

            a. Pickering was extended to independent contractors by the

               Supreme Court in Umbehr and controls this case

        Plaintiff argues that because he was not an employee of DCS—but was

  instead an employee of Lifeline, a DCS contractor—the Pickering balancing test

  used by courts to determine whether an employee’s speech is protected by the First

  Amendment is inapposite. [Plaintiff’s MSJ, p. 6.] In Plaintiff’s view, his speech to

  McSween regarding K.L.’s case was made as a private citizen. [Id. at 7.] And so

  Plaintiff argues that it is irrelevant if his speech was offensive to any DCS

  employees and it doesn’t matter if it violated DCS’s or Lifeline’s policies—because

  he was speaking as a private citizen on a religious matter, DCS could take no action

  against him. [Id.]

        Plaintiff fails to address the Supreme Court’s decision in Board of

  County Com'rs, Wabaunsee County, Kan. v. Umbehr, 518 U.S. 668 (1996),

  which extended the holding of Pickering to cases involving government

  contractors. Defendants addressed Umbehr and its application to this case

  extensively in their motion for summary judgment, and so they won’t rehash

  the same arguments here. [Defendants’ MSJ, p. 16-17.] But Plaintiff’s

  assertion that his speech to McSween made entirely during the performance

  of his duties under Lifeline’s contract with DCS, [Defendants’ MSJ, Ex. A, ¶¶


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  10, 30-32], is not subject to any limitation would have far-reaching

  consequences for the efficient delivery of government services. Under

  Plaintiff’s view, he could attend a religious rally where he proclaimed that all

  LGBTQ people were destined for eternal damnation and should be put to death (or

  even say this to a DCS family case manager), and show up for work the next day to

  provide counseling services to an LGBTQ client without repercussion. [See

  Plaintiff’s MSJ, p. 7 (“[R]eligious beliefs need not be acceptable, logical, consistent,

  or comprehensible to others in order to merit First Amendment protection.

  Therefore, it is irrelevant that McSween or the other Defendants found Wade’s

  speech or opinions offensive.”) (internal citations omitted).]

        That position is absurd. As the Supreme Court observed in Umbehr, when

  the government exercises contractual power, as here, its interests as a public

  service provider are implicated, and “deference is . . . due to the government’s

  reasonable assessments of its interests as contractor.” Umbehr, 518 U.S. at 678. The

  Court held that the Pickering balancing test could be appropriately applied to

  government contractors, accommodating any differences between employees and

  contractors while accounting for the government’s interest in promoting the efficient

  delivery of public services. Id. at 676, 678. The government’s interest in the efficient

  delivery of public services “is elevated from a relatively subordinate interest when it

  acts as sovereign to a significant one when it acts as employer,” and the Supreme

  Court has “consistently given greater deference to government predictions of harm

  used to justify restriction of employee speech than to predictions of harm used to



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  justify restrictions on the speech of the public at large.” Id. at 676. The practical

  application of this reasoning is obvious: it would be unimaginable, for example, if

  the government was forced to tolerate overt racism espoused by a government

  contractor in a public-facing position because that speech was otherwise protected,

  no matter the deleterious effect that person might have on the efficient delivery of

  government services.

        Plaintiff argues that the standard set forth in Bridges v. Gilbert applies to

  this case. 557 F.3d 541 (7th Cir. 2009). There, Bridges sued several employees of the

  Wisconsin Department of Correction for retaliation because he provided an affidavit

  in a wrongful death lawsuit brought by the estate of a deceased prisoner. Id. at 544.

  In deciding the case, the Seventh Circuit discussed whether to apply the “public

  concern” standard set forth in Pickering, Connick, and Garcetti—all cases involving

  the First Amendment rights of employees—to cases involving prisoners. Id. at 549-

  550. After an analysis of cases from the Supreme Court and other circuits, the

  Bridges court held that the requirement that a plaintiff show that his speech was

  made “on a matter of public concern” in employment cases shouldn’t apply to

  prisoner cases because the threshold concerns regarding speech in each context

  were very different. Id. at 550. Specifically, the “public concern inquiry was created

  to maintain the delicate balance between a citizen's right to speak (and the public

  interest in having thoughtful debate) and the employer's need to effectively provide

  government services,” where the “legitimate penological objectives test was created

  to preserve some free speech rights for prisoners in a restrictive and challenging




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  environment where prison officials must be focused on crime deterrence, prisoner

  rehabilitation, and internal prison security.” Id.

           Plaintiff’s reliance on Bridges is puzzling—Mr. Wade was not incarcerated at

  the time he spoke to McSween, and so the “legitimate penological interests” test to

  determine if speech is protected by the First Amendment clearly has no application

  to this case. To the extent that Plaintiff is simply trying to draw a comparison,

  common sense counsels that speech of an independent contractor is closer to that of

  a state employee than an inmate incarcerated by the state. But comparisons aside,

  the Seventh Circuit settled this matter in Khuans, where it held that “[i]n Umbehr,

  the Supreme Court indicated that when an independent contractor has been fired

  because of her exercise of free speech, we must balance interests pursuant to

  Pickering, adjusting for any differences between the employee and independent

  contractor situations.” Khuans v. Sch. Dist. 110, 123 F.3d 1010, 1019 (7th Cir.

  1997).

           Plaintiff was an employee of Lifeline, providing services to DCS clients under

  Lifeline’s contract with DCS. [Defendants’ MSJ, Ex. A, ¶¶ 10, 30-32; Plaintiff’s

  MSJ, Ex. A, ¶¶ 6, 10.] As such, his claim of First Amendment retaliation was

  subject to the Pickering framework as extended by Umbehr and recognized by

  Khuans. Plaintiff must show that the action taken against him by

  Defendants “was motivated by his speech on a matter of public concern,”

  Umbehr, 518 U.S. at 685, and that his speech was made as a private citizen—

  not pursuant to his official duties as a contractor. Garcetti v. Ceballos, 547


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  U.S. 410, 421 (2006) For the reasons set forth in the Defendants’ MSJ,

  sections IV(b)-(d), and because Plaintiff does not address in his motion for

  summary judgment whether his speech to McSween was as a private citizen

  on a matter of public concern, Plaintiff is not entitled to judgment as a matter

  of law and his motion for summary judgment should be denied.

            b. If Bridges does control this case, Defendants are entitled to

               qualified immunity because their actions didn’t violate clearly

               established law

        If the Court is inclined to agree with Plaintiff that his speech could not be

  subject to any action by DCS, no matter the content nor that it was uttered while

  performing duties under a DCS contract, Defendants are entitled to summary

  judgment because it was not clearly established at the time that this conduct

  violated the constitution.

        “[Q]ualified immunity protects government agents from liability when their

  actions do not violate clearly established statutory or constitutional rights of which

  a reasonable person would have known. This involves two questions: (1) whether

  the facts, taken in the light most favorable to the plaintiff, show that the defendant

  violated a constitutional right; and (2) whether that constitutional right was clearly

  established at the time of the alleged violation.” Hernandez v. Cook Cty. Sheriff's

  Office, 634 F.3d 906, 914 (7th Cir. 2011) (internal citations omitted). It “provides

  ample room for mistaken judgments and protects government officers except for the




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  plainly incompetent and those who knowingly violate the law.” Saffell v. Crews, 183

  F.3d 655, 658 (7th Cir. 1999) (internal citations omitted).

           Defendants cannot find a single case in the Seventh Circuit that has held

  that a litigant in Plaintiff’s position—an employee of a company performing duties

  under that company’s contract with a state agency—is not subject to the standards

  set forth in Pickering, Umbehr, and Garcetti. Plaintiff’s view that a litigant in his

  position cannot be subject to any speech restriction regarding his religious beliefs,

  no matter if that speech is expressed privately, during the course of employment,

  and regardless of how much that speech might interfere with the efficient delivery

  of government services is, at best, novel. In the end, it was not clearly established at

  the time that a state agency and its employees were prohibited from taking any

  action against an independent contractor who they believed had espoused a view of

  transgenderism that was at odds with their policies regarding the treatment of

  LGBTQ youth.

     IV.      Conclusion

     For the reasons set forth above, Plaintiff has failed to support his factual claims

  with admissible evidence to show that his speech was protected under the

  standards the Supreme Court has set forth in Pickering, Umbehr, and Garcetti, so

  he is not entitled to judgment as a matter of law. Additionally, even taking all of his

  alleged facts and arguments are true, Defendants are entitled to judgment under

  the doctrine of qualified immunity because it was not clearly established at the time

  that their actions were unconstitutional.




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                                          Respectfully Submitted,

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                            CERTIFICATE OF SERVICE

        I hereby certify that on October 19, 2020, I electronically filed the foregoing

  with the Clerk of the Court using the CM/ECF system.




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